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               IN THE UNITED STATES DISTRICT COURT FOR THE
                     NORTHERN DISTRICT OF OKLAHOMA

  (1)   LIZANDRO ONOFRE                           )
                                                  )
        Plaintiff,                                )
                                                  )
  v.                                              )      Case No. 18-cv-75-TCK-JFJ
                                                  )
  (1)   JAMES, WHITE, individually, and           )
  (2)   TCE V, LLC, d/b/a Ted’s Café              )
  Escondido – Tulsa Hills, a Domestic             )
  Limited Liability Company.                      )
                                                  )
        Defendants,                               )

                                NOTICE OF REMOVAL

        To the Clerk of the above entitled court please take notice that pursuant to 28 U.S.

  C. §§ 1441(b) and 1446, Defendants James White and TCE V, LLC, d/b/a Ted’s Cave

  Escondido – Tulsa Hills (hereafter “Ted’s Café”) hereby remove the above-captioned

  action from the District Court of Tulsa County, State of Oklahoma, to the United States

  District Court for the Northern District of Oklahoma. In support, Defendants state as

  follows:

        1.     On August 25, 2017, an action was commenced in the District Court of

  Tulsa County, State of Oklahoma, entitled Lizandro Onofre v. James White & TCE V,

  LLC, d/b/a Ted’s Café Escondido. True and correct copies of “all process, pleadings, and

  orders” filed in that case are attached as Exhibits one through seventeen. See 28 U.S.C.

  § 1446(a).
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                       PLAINTIFFS CLAIMS PRESENTS A
                 FEDERAL QUESTION THAT WARRANTS REMOVAL

         2.      This action is a civil action over which this court has original jurisdiction

  under 28 U.S.C. § 1331, and is one that may be removed to this court by defendants

  pursuant to the provisions of 28 U.S.C. § 1441(c) in that it arises under federal law as set

  forth below.

         3.      Any civil action brought in a state court of which the district court the

  United States has original jurisdiction may be removed by the defendants to the district

  court of the United States for the district and division embracing the place where the

  action is pending. 28 U.S.C § 1441(a). Any civil action in which the district courts have

  original jurisdiction founded on a claim or arising under the Constitution, treaties, or laws

  in the United States shall be removable without regard to the citizenship or residence of

  the parties. 28 U.S.C § 1441(b).

         4.      The jurisdictional statute invoked by the defendants, 28 U.S.C. § 1331,

  authorizes this federal district court to hear civil actions “arising under the Constitution,

  laws or treaties that the United States” and 28 U.S.C. § 1441, which authorizes a state

  court defendant to remove a case “when a Federal Court would have had jurisdiction if

  the case had been filed there originally.”

         5.      Plaintiff’s Second Amended Petition specifically alleges that the action

  arises under Title VII of the Civil Rights Act of 1991, as amended, 42 U.S.C. § 2000(e),

  et seq., 42 U.S.C. 1981, et. seq., and the Americans with Disabilities Act, 41 U.S.C.

                                               2
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  12101, et seq. See Ex. 16, Plaintiff’s Second Amended Petition ¶¶44-51, 54-55.

  Consequently, the dispute arises under federal law.

                             OTHER REQUIREMENTS
                       FOR REMOVAL HAVE BEEN SATISFIED

         6.     Defendants received a copy of Plaintiff’s Second Amended Petition in this

  case via United States First Class Mail on January 24, 2018. Therefore, this Notice of

  Removal is being filed within thirty days of receipt by Defendant, “through service or

  otherwise of a copy of the initial pleadings set forth the claims for relief upon which the

  action for receiving is based,” 28 U.S.C. § 1446(b), and is timely.

         7.     Removal to the United States District Court, Northern District of Oklahoma

  is proper because the District Court of Tulsa County, State of Oklahoma where the

  above-captioned action was originally filed is located within the Northern District of

  Oklahoma. 28 U.S.C. § 1446(a).

         8.     The undersigned certifies that a copy of this notice has been filed with the

  clerk of the District Court of Tulsa, State of Oklahoma pursuant to 28 U.S.C. § 1446(d).

         9.     The undersigned certifies that a copy of this notice is being served on the

  plaintiff’s counsel of record pursuant to 28 U.S.C. § 1446(d).

         10.    Pursuant to LCvR 81.2, a copy of the docket sheet is attached as exhibit

  seventeen.



                                            Respectfully submitted,

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                                           s/Christine Cave
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                             CERTIFICATE OF SERVICE

          I certify that on February 5, 2018, in addition to filing the same using the ECF
  System for which the Plaintiff’s attorneys are believed to be registered, I served the
  attached documents by e-mail and/or by United States First Class Mail, postage pre-paid,
  to the following:

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  Fry & Elder
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  Tulsa, Oklahoma 74119
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                                          s/Christine Cave
                                          Christine Cave




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